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                   For Immediate Release                                                       June 16, 2010
                           Statement by the President After Meeting with BP Executives


                                                     State Dining Room

  2:25 P.M. EDT


  THE PRESIDENT: Good afternoon, everybody. I just concluded a constructive meeting with BP’s chairman, Carl-
  Henric Svanberg, and I raised two issues at the meeting. First was the containment of the oil that is still spewing
                                                                                                                                      June 16, 2010 3:35 PM
  into the Gulf. As I mentioned last night, my administration has directed BP to mobilize additional equipment and
                                                                                                                                      Meeting Obligations to the Gulf Coast
  technology, and in the coming days and weeks, these efforts should capture up to 90 percent of the oil that is
  leaking out of the well.


  Now, that’s not good enough. So we will continue to press BP and draw on our best minds and resources to
  capture the rest of the oil until the company finishes drilling a relief well later in the summer that is expected to stop          BLOG POSTS ON THIS ISSUE
  the leak completely.
                                                                                                                                      February 24, 2011 1:59 PM EST
                                                                                                                                      The Energy of Entrepreneurs
  The second topic revolved around the issue of claims. As I traveled across the Gulf I heard growing frustration over
                                                                                                                                      Energy Secretary Steven Chu encourages
  the pace at which claims had been paid. And I also heard concerns about whether BP will make resources
                                                                                                                                      entrepreneurs to keep driving the American
  available to cover legitimate claims resulting from this disaster. So this discussion today was essential.
                                                                                                                                      economy, and to submit feedback on what the
                                                                                                                                      government can do to help bring their ideas to
  Currently, under federal law, there is a $75 million cap on how much oil companies could under certain
                                                                                                                                      market.
  circumstances be required to pay for economic damages resulting from a spill such as this. That amount obviously
  would be insufficient. That’s why I'm pleased to announce that BP has agreed to set aside $20 billion to pay claims
                                                                                                                                      February 17, 2011 5:21 PM EST
  for damages resulting from this spill.
                                                                                                                                      Exclusive Video: Presidential Medal of
                                                                                                                                      Freedom Recipients In Their Own Words
      This $20 billion will provide substantial assurance that the claims people and businesses have will be honored.                 2010 Medal of Freedom recipients reflect on a
  It’s also important to emphasize this is not a cap. The people of the Gulf have my commitment that BP will meet its                 momentous day and share their stories of
  obligations to them. BP has publicly pledged to make good on the claims that it owes to the people in the Gulf, and                 inspiration, their best advice for young people and
  so the agreement we reached sets up a financial and legal framework to do it.                                                       their ideas on how all Americans can give back.
                                                                                                                                      Hear from honorees including President George
  Another important element is that this $20 billion fund will not be controlled by either BP or by the government. It                H.W. Bush, Dr. Maya Angelou, Congressman John
  will be put in a escrow account, administered by an impartial, independent third party. So if you or your business                  Lewis and more.
  has suffered an economic loss as a result of this spill, you’ll be eligible to file a claim for part of this $20 billion. This
  fund does not supersede either individuals’ rights or states’ rights to present claims in court. BP will also continue to           February 11, 2011 7:09 PM EST
  be liable for the environmental disaster it has caused, and we’re going to continue to work to make sure that they                  Weekly Wrap Up: Rebuilding America's
  address it.                                                                                                                         Infrastructure for the 21st Century
                                                                                                                                                               A look back at the week
  Additionally, BP voluntarily agreed to establish a $100 million fund to compensate unemployed oil rig workers                                                that was on
  affected by the closure of the deepwater rigs.                                                                                                               WhiteHouse.gov.


  We’ve mutually agreed that Ken Feinberg will run the independent claims process we’re putting in place. And there                                            VIEW ALL RELATED BLOG
  will be a three-person panel to adjudicate claims that are turned down. Every effort will be made to expedite these                 POSTS

  claims. Ken has long experience in such matters, including running the fund that compensated the victims of 9/11.
  And I’m confident he will ensure that claims are administered as quickly, as fairly, and as transparently as possible.

                                                                                                                                                  Facebook               YouTube
  BP’s liabilities for this spill are significant -- and they acknowledge that fact. We will continue to hold BP and all
  other responsible parties accountable. And I’m absolutely confident BP will be able to meet its obligations to the
                                                                                                                                                  Twitter                Vimeo
  Gulf Coast and to the American people. BP is a strong and viable company and it is in all of our interests that it
  remain so. So what this is about is accountability. At the end of the day, that’s what every American wants and                                 Flickr                 iTunes
  expects.
                                                                                                                                                  MySpace                LinkedIn
  The structure we’re establishing today is an important step towards making the people of the Gulf Coast whole
  again, but it’s not going to turn things around overnight. And I want all Americans to know that I will continue to fight
  each and every day until the oil is contained, until businesses recover, and until the Gulf Coast bounces back from              Ex. 3
  this tragedy, as I know it will.
                                                                                                                                   Barack Obama, President of the United States of America,
  One last point. During a private conversation with Chairman Svanberg I emphasized to him that for the families that              Statement by the President After Meeting with BP
  I met with down in the Gulf, for the small business owners, for the fishermen, for the shrimpers, this is not just a             Executives (June 16, 2010), available at
                                                                                                                                   http://www.whitehouse.gov/the-press-office/statement-pres
                                                                                                                                   ident-after-meeting-with-bp-executives (last visited Feb.
                                                                                                                                   24, 2011).
http://www.whitehouse.gov/the-press-office/statement-president-after-meeting-with-bp-ex... 2/24/2011
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  matter of dollars and cents; that a lot of these folks don’t have a cushion. They were coming off Rita and Katrina;
  coming off the worst economy that this country has seen since the Great Depression, and this season was going to
  be the season where they were going to be bouncing back. Not only that, but this happened, from their
  perspective, at the worst possible time, because they’re making their entire income for the year in the three or four
  months during which folks can take their boats out, people are coming down for tourism.


  And so I emphasized to the chairman that when he’s talking to shareholders, when he is in meetings in his
  boardroom, to keep in mind those individuals; that they are desperate; that some of them, if they don’t get relief
  quickly, may lose businesses that have been in their families for two or three generations. And the chairman
  assured me that he would keep them in mind.


  That’s going to be the standard by which I measure BP’s responsiveness. I think today was a good start, and it
  should provide some assurance to some of the small business owners and individuals down in the Gulf who I was
  visiting with that BP is going to meet its responsibilities. But I indicated to the chairman that, throughout this
  process, as we work to make sure that the Gulf is made whole once again, that the standard I’m going to be
  applying is whether or not those individuals I met with, their family members, those communities that are vulnerable,
  whether they are uppermost in the minds of all concerned. That’s who we’re doing this work for.


  All right. Thank you very much, everybody.


  END
  2:33 P.M. EDT




  ** This transcript has been corrected.




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